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AUG | 9 2019

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

 

 

 

 

 

     

 

 

 

 

 

 

 

 

(Enter above the full name of the plain (Inmate Reg. # of each Plaintiff)
or plaintiffs in this action).

VERSUS CIVIL ACTION NO, 3./7% - 4 V = 0068
(Number to be assigned by Court)

 

 

 

 

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SHO A Ne r GB :

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Enter above the full name of the defendant
or defendants in this action)

COMPLAINT
I. Previous Lawsuits
A. Have you begun other lawsuits in state or federal court dealing with the same
facts involved in this action or otherwise relating to your imprisonment?
Yes No _S“_
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B, If your answer to A is yes, describe each lawsuit in the space below. (If there
is more than one lawsuit, describe the additional lawsuits on another piece of
paper, using the same outline),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1, Parties to this previous lawsuit:
Plaintiffs:
Defendants: /
2, Court (if federal court, name the district: if state court, name the
county): Jf
3. Docket Number: L
7
4, Name of judge io whom case was assigned:
5. Disposition (for example: Was the case dismissed? Was it appealed?
Is it still pending? /
6, Approximate date of filing lawsuit:
7, Approximate date of disposition:

 

 
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Place of Present Confinement:

 

 

 

 

 

 

 

 

 

 

A. Is there a prisoner grievance procedure in this institution?
Yes SL No ___
B. Did you present the facts relating to your complaint in the state prisoner grievance
procedure? f
fo
Yes No f
C. If your answer is YES:
1, What steps did you take? =
2. What was the result?
D. If your answer is NO, explain why not: TT

 

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et aa

   

Parties

(In item A below, place your name and inmate registration number in the first blank
and place your present address in the second blank. Do the same for additional
plaintiffs, if any.)

  
 

A. Name of Plaintiff:

 

Address; i.

 

B. Additional Plaintiff(s) and Address(es):

  

 

 

 

 
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(In item C below, place the full name of the defendant in the first blank, his/her
official position in the second blank, and his/her place of employment in the third
blank. Use item D for the names, positions, and places of employment of any
additional defendants.)

Cc. Defendant:

 

 

is employed as:

at

 

Dd. Additional defendants:

 

 

 

 

IV, Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant
is volved. Include also the names of other persons involved, dates, and places. Do
not give any legal arguments or cite any cases or statutes. If you intend to allege a
number of related claims, set forth each claim in a separate paragraph. (Use as much
space as you need. Attach extra sheets if necessary.)

 

 

 

 

 

 

 

 

 
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IV. Statement of Claim (continued):

 

 

 

 

 

 

 

 

 

 

Vv. Relief

State briefly exactly what you want the court to do for you. Make no legal arguments,
Cite no cases or statutes.

 

 

 

 

 

 

 

 

 

 
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Vv. Relief (continued):

 

 

 

 

 

 

VI. Counsel _

A.

oO

If someone other than a lawser 3s or you in preparing this case, state the
person’s name: J \ / f /

LVLSAT

 

 

 

 

 

 

 

B. Have you made any effort to contact a private lawyer to determine if he or she
would represent you in this civil action? LY
Sf
Yes No A“.
If'so, state the name(s) and address(es) of each lawyer contacted:
If not, state your reasons: - fo .
, / “SY
C. Have you previously had a lawyer representing you in a civil action in this

court?

Yes No <<

 

 
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If so, state the vey, Ss vay) é and address:

ALL

 

 

 

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Signed this 5 day of AUG

 

 

 

2 * 25426GQ2_

‘Signature of Plaintiff or Plaintiffs

I declare under penalty of perjury that the foregoing is true and correct.

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Executed on__ AUGUS? 2019
(Date)

 

 

 

Signature of Mevant/Plaintiff = \

 

Signature of Attorney
(if any)
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 

Travis

Your full name

 

 

 

 

 

 

 

 

V. Civil Action No.:
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(Pec PEL ff,
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eo ew
Ue FS “
rr LeotAL LTs +
INDENT DYAL CAPAC TTY

 

Enter above the full name of defendant(s) in this action

Certificate of Service
1,4 FAVES fh. NORWOOD | (your name here), appearing pro se, hereby certify
that I have served the foregoing (title of document
being sent) upon the defendant(s) by depositing true copies of the same in the United States mail,
postage prepaid, upon the following counsel of record for the defendant(s) on

Lom 7 mn CY
a, LO/ 7 (insert date here):

(List name and address of counsel for defendant(s))

 

eo Ze B54 2062

(sign your name)

 
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